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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

                                                :
 Root, Inc., et al.,                            :    Case No. 2:23-cv-512
                                                :
                   Plaintiffs,                  :    Judge Sarah D. Morrison
                                                :
         v.                                     :    Magistrate Judge Chelsey M. Vascura
                                                :
 Silver, et al.,                                :
                                                :
                   Defendants.                  :

                   MOTION FOR TEMPORARY RESTRAINING ORDER AND
                             PRELIMINARY INJUNCTION

        Pursuant to Fed. R. Civ. P. 65, Plaintiffs Root, Inc., Caret Holdings, Inc., and Root

Insurance Agency, LLC (collectively, “Plaintiffs” or “Root”) hereby move this Court for a

Temporary Restraining Order and Preliminary Injunction, enjoining Defendants Brinson Caleb

“BC” Silver (“Silver”), William Campbell (“Campbell”), Collateral Damage, LLC (“Collateral

Damage”), Eclipse Home Design, LLC (“Eclipse”), Quantasy & Associates, LLC (“Quantasy”),

and Paige McDaniel (“McDaniel”) (collectively “Defendants”) from using, converting,

encumbering, transferring or disposing of any of their assets, except as normal day-to-day

transactions as determined by the Court until this matter is resolved on the merits. As part of the

injunction, Root requests the Court restrict the sale of the following properties except by leave of

Court: 13105 Biscayne Island Terrace, Miami, Florida 33181; 9125 North Bayshore Drive,

Miami, Florida 33138; and 2543 Walnut Avenue, Venice, California 90291. Root respectfully

requests an expedited hearing on this Motion. Support for this Motion is set forth in the Verified

Amended Complaint, filed February 14, 2023, and the attached Memorandum in Support.
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                                       Respectfully submitted,

                                       /s/ William D. Kloss, Jr.
                                       William D. Kloss, Jr. (0040854), Trial Attorney
                                       Elizabeth S. Alexander (0096401)
                                       Grace E. Saalman (0101603)
                                       VORYS, SATER, SEYMOUR AND PEASE LLP
                                       52 East Gay Street, P.O. Box 1008
                                       Columbus, Ohio 43216-1008
                                       Phone: (614) 464-6360 Fax: (614) 719-4807
                                       wdklossjr@vorys.com
                                       esalexander@vorys.com
                                       gesaalman@vorys.com

                                       Matthew L. Kutcher (IL Bar No. 6275320)
                                       (application for pro hac vice forthcoming)
                                       COOLEY LLP
                                       110 N. Wacker Drive Suite 4200
                                       Chicago, IL 60606
                                       Phone: (312)-881-6500
                                       Fax: (312)-881 6598
                                       mkutcher@cooley.com

                                       Kristine A. Forderer (CA Bar No. 278754)
                                       (application for pro hac vice forthcoming)
                                       COOLEY LLP
                                       3 Embarcadero Center
                                       San Francisco, CA 94111
                                       Phone: (415) 693-2128
                                       kforderer@cooley.com

                                       Counsel for Plaintiffs




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       A.        Root’s Claims Are Likely to Succeed on the Merits ............................................ 11

                 1.         RICO (Count I) Against All Defendants .................................................. 11

Root will likely succeed on its RICO claims because Defendants acted as an association-in-fact
enterprise to conduct a pattern of wire fraud racketeering activity, and such activity affected
interstate commerce. Here, each Defendant acted, directly or indirectly, to send fake invoices,
contracts, and other documents to funnel over $9.9 million from Root to Quantasy, from Quantasy




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to Collateral Damage, and from Collateral Damage to Silver, McDaniel, and Eclipse under false
pretenses of providing marketing services to Root.

Key Case: Moon v. Harrison Piping Supply, 465 F.3d 719, 723 (6th Cir. 2006).

               2.      Fraudulent Concealment (Count II) Against Silver, Campbell, and
                       Quantasy ................................................................................................... 15

Root will likely succeed on the merits of its fraudulent concealment claims. Silver, Campbell, and
Quantasy had a duty to disclose but failed to disclose that Quantasy was giving Silver's own
company, Collateral Damage, kickbacks from Root's payments to Quantasy for marketing
services. Defendants concealed these material facts with the intention of inducing Root to hire
Quantasy and continue business with Quantasy. Root justifiably entered into business dealings
with Quantasy because it lacked knowledge of Silver, Campbell, and Quantasy's secret, back-door
deals with each other and fraudulent intentions towards Root. As a result of their concealment,
Root was injured in an amount greater than $9.9 million.

Key Case: Aetna Cas. & Sur. Co. v. Leahey Constr. Co., 219 F.3d 519, 539 (6th Cir. 2000).

               3.      Fraudulent Misrepresentation (Count III) Against Silver,
                       Campbell, and Quantasy ........................................................................... 16

Root will likely succeed on the merits of its fraudulent misrepresentation claims. Silver, Campbell,
and Quantasy made material misrepresentations to Root, including that Quantasy would provide
marketing services for Root and there were no improper personal interests in the matter. Silver
also forged and fabricated emails, invoices, and contracts to the same end. Defendants knew these
misrepresentations were false and made them with the intention of inducing Root to enter and
continue its business relationship with Quantasy. Root justifiably relied on the misrepresentations
and was injured in an amount greater than $9.9 million.

Key Case: Burr v. Board of County Comm’rs. (1986), 23 Ohio St.3d 69, 491 N.E.2d 1101.

               4.      Conversion (Count IV) Against All Defendants ....................................... 17

Root will likely succeed on the merits of its conversion claims because Defendants wrongfully
exercised dominion over Root's funds by transferring $9.9 million from Root to Collateral
Damage, McDaniel, Eclipse, and Silver without Root's knowledge or authority.

               5.      Civil Action for Criminal Theft and Telecommunications Fraud
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                       a.         Theft .............................................................................................. 18

Root will likely succeed on the merits of its theft claims because Defendants exerted control over
Root's funds without Root's consent by transferring Root's funds to themselves. Defendants forged
documents and blatantly lied to Root to conceal their scheme.



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Key Authority: Ohio Revised Code § 2913.02(A).

                            b.         Telecommunications Fraud ........................................................... 19

Root will likely succeed on the merits of its telecommunications fraud claims because Defendants
Silver, Campbell, Quantasy, and Collateral Damage knowingly disseminated messages, contracts,
invoices, and other communications via email, WhatsApp, and text messaging to execute or further
their scheme to defraud Root.

Key Authority: Ohio Revised Code § 2913.05(A).

       B.        Root Has Been and Will Continue to Be Irreparably Harmed Absent an
                 Injunction .............................................................................................................. 20

Root has been and will continue to be irreparably harmed absent an injunction on Defendants'
assets because Defendants are likely to disperse and conceal their assets stolen from Root through
fraudulent means. The Sixth Circuit has found that concealment and dissipation of assets likely
obtained through fraud constitutes irreparable harm, particularly in cases such as this where the
defendants are fugitives or where the defendants have already demonstrated an ability and
willingness to lie, forge documents, or transfer funds to conceal them.

Key Case: NCR Corp. v. Feltz, 983 F.2d 1068 (6th Cir. 1993).

       C.        The Issuance of an Injunction Will Cause No Harm to Others ............................ 22

This injunction will not harm Defendants because it permits day-to-day transactions so Quantasy
can continue running its business and the other Defendants' lives are not substantially disrupted.
The injunction also will not harm third parties.

       D.        The Issuance of an Injunction Would Serve the Public Interest ........................... 23

This injunction will serve the public interest by discouraging future multi-state fraudulent schemes
and protecting Plaintiffs' remedies.

Key Case: NCR Corp. v. Feltz, 983 F.2d 1068 (6th Cir. 1993).

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                                MEMORANDUM IN SUPPORT

I.     INTRODUCTION

        Root recently uncovered a brazen and sophisticated scheme—led by Root’s former Chief

Marketing Officer (“CMO”), BC Silver—to defraud Root of more than $9.4 million. Silver

misused his position as CMO to steal breathtaking sums from Root through a three-step plan:

              Step 1: Silver caused Root to pay William Campbell’s company, Quantasy, for
               marketing services;

              Step 2: While Quantasy and Campbell retained some of Root’s funds, Quantasy
               transferred the vast majority to Collateral Damage, a company owned and
               controlled by Silver and/or Silver’s sister, Paige McDaniel; and

              Step 3: Collateral Damage then transferred some of Root’s funds to other
               Defendants for their personal gain, including Eclipse, a company owned and
               controlled by Silver, which used the funds to purchase luxury real estate.

Defendants’ scheme caused Root to pay Quantasy more than $13 million, Quantasy to transfer

Collateral Damage more than $9.4 million, and Collateral Damage, upon information and belief,

to distribute the funds to Defendants, including to Eclipse, which purchased grandiose coastal

homes in Florida and California.

      Root now moves for a temporary restraining order and preliminary injunction to prohibit

Defendants from disposing of and concealing their ill-gotten assets prior to a decision on the

merits. Each factor weighs in favor of an injunction. First, Root is substantially likely to succeed

on the merits of its claims. Even at this early stage of this case, Root has extensive evidence to

support every claim for relief sought in its Verified Amended Complaint. Second, Root will be

irreparably harmed through Defendants’ concealment and dissipation of assets obtained through

fraud. Immediate injunctive relief is particularly appropriate here as a result of Defendants’

established ability to funnel and conceal significant sums of money and assets through various

entities. Moreover, Eclipse recently listed one of its coastal properties for sale. Third, neither



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Defendants nor third parties will be harmed by the issuance of an injunction. And fourth, the

public interest is served by stopping Defendants’ multi-state fraudulent scheme and providing

Root the opportunity for meaningful relief.

         Temporary restraining orders and preliminary injunctions serve an important purpose—

“to allow a victory by [the plaintiffs] to be meaningful.” See McGirr v. Rehme, 891 F.3d 603,

614-15 (6th Cir. 2018). Until this case is fully and finally resolved on the merits, Root respectfully

requests that the Court issue a temporary restraining order and injunction enjoining Defendants

from using, converting, transferring or disposing of any of their assets, except as normal day-to-

day transactions, including but not limited to the proceeds from any sale of their properties. 1

Without this relief, Defendants will transfer assets to preclude recovery and Root’s victory in this

litigation will be meaningless.

II.      FACTUAL BACKGROUND

         A.      Root Hires Silver as CMO.

         Root, Inc. is a publicly-traded insurance holding company based in Columbus, Ohio. (Am.

Compl. ¶ 11.) Caret Holdings, Inc. and Root Insurance Agency, LLC are subsidiaries of Root,

Inc. and are also based in Columbus, Ohio. (Id. ¶¶ 12, 13.) In the fall of 2021, Root hired Silver

as its CMO. (Id. ¶ 21.) Silver served as Root’s CMO from November 2021 to November 2022,

at which point he was terminated as part of a company-wide reduction in force. (Id. ¶ 25.)




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    As set forth in the Declaration of Elizabeth S. Alexander, attached hereto as Exhibit 1, Root has
    diligently attempted to give notice of the Amended Verified Complaint and this Motion to all
    Defendants. Given the multiple methods of attempted service described therein, there is good
    reason to believe that Silver has actual notice and is evading service.


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         B.     Silver Strikes a Deal with Campbell and Quantasy to Funnel Root’s Marketing
                Budget to Quantasy and Silver’s Own Company, Collateral Damage.

         Within two weeks of starting his employment at Root, Silver contacted his acquaintance,

Campbell, to put Silver’s plan into motion. (Id. ¶ 26.) Silver and Campbell discussed Root

retaining Campbell’s company, Quantasy, as a marketing vendor for Root. (Id.) Under their

scheme, after Root made payments to Quantasy, Quantasy would transfer the funds to Silver’s

own company, Collateral Damage. (Id. ¶ 32.) Essentially, Quantasy would hire Collateral Damage

as a subcontractor for Root’s marketing services, but Collateral Damage would not actually

perform marketing services. Instead, Collateral Damage would simply pocket Root’s funds.

         Throughout Silver’s first two months as CMO, he and Campbell exchanged text messages

about forming a business relationship between Root and Quantasy. (Id. ¶¶ 27-29, Exs. 1, 2.) On

February 3, 2022, at Silver’s direction, Root signed a Scope of Work agreement with Quantasy

(“SOW #1”). Under SOW #1, Quantasy agreed to provide marketing services for Root related to

“Client Partnerships,” “Brand Strategy,” and “Creative Services/Development Support” in

exchange for three payments totaling $1,184,445. (Id. ¶ 30, Ex. 3.) Silver sent Campbell a private

message using the WhatsApp messaging application containing an account number and routing

numbers for Collateral Damage’s Bank of America bank account. (Id. ¶ 32, Ex. 5.) Silver and

Campbell also negotiated via WhatsApp how to divide Root’s payments between Quantasy and

Collateral Damage. (Id. ¶¶ 37, 38, Fig. 1.) They ultimately decided that Collateral Damage would

receive 40% of the first payment, 35% of the second payment, and 25% of the third payment. (Id.

¶ 38.)

         C.     Root Makes Three Payments under SOW #1 to Quantasy at Silver’s Direction
                and Quantasy Forwards a Portion of Those Payments to Collateral Damage.

         Within days of Root’s payment installments to Quantasy under SOW #1, Quantasy

transferred a portion of those payments to Collateral Damage.


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              Installment One: On February 9, 2022, at Silver’s direction, Root paid Quantasy
               $473,778 for the first installment under SOW #1. (Id. ¶ 33, Ex. 6.) Five days later,
               Quantasy wired $153,778 to the Collateral Damage. (Id. ¶ 34, Ex. 7.)

              Installment Two: On March 7, 2022, at Silver’s direction, Root wired Quantasy
               $414,555.75 for the second installment of SOW #1. (Id. ¶ 47.) Two days later,
               Quantasy wired Collateral Damage $134,555.75. (Id. ¶ 49.)

              Installment Three: On March 24, 2022, at Silver’s direction, Root wired Quantasy
               $296,111.25 for the third SOW #1 installment. (Id. ¶ 52.) Four days later, Quantasy
               wired Collateral Damage $96,111.25. (Id. ¶ 55.)

In total, Root paid Quantasy $1,184,444 under SOW #1 and Quantasy secretly transferred

$384,444 of that money to Collateral Damage. (Id. ¶ 56.) Although Collateral Damage’s invoices

to Quantasy stated that Collateral Damage would provide “2021 Promotion Plan” and “Campaign

Design Support” for Root, Root received little to no marketing services from Quantasy and no

marketing services whatsoever from Collateral Damage. (Id.)

       In an effort to conceal Silver’s involvement in Collateral Damage, Silver and Campbell

hijacked the identity of a former Collateral Damage employee, Lauren Lanskie (“Lanskie”). (Id.

¶¶ 44, 45.) Lanskie worked as an administrative assistant for Collateral Damage between

November 2019 and February 2020 and had no involvement with Collateral Damage’s dealings

after her employment ended. (Id.) However, upon information and belief, Silver used Lanskie’s

former Collateral Damage email address to make it appear as if she was still an employee. (Id.;

Lanskie Decl. ¶¶ 15-18, attached hereto as Exhibit 2.) Through Lanskie’s email address, Silver

sent invoices from Collateral Damage to Quantasy for the installments of SOW #1. (Am. Compl.

¶¶ 43, 47-48, 53, 54, 72, 77, Exs. 7, 14, 18, 30, 32.)

       Other than Silver, Root management had no knowledge of Collateral Damage’s existence,

that it was Silver’s business, or any purported work it was “performing” with Quantasy for Root.

(Id. ¶ 35.) More importantly, Root was unaware that Quantasy was giving portions of Root’s

payments to Collateral Damage. (Id. ¶ 85.) Instead, Silver used his position at Root to conceal


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the scheme from Root management and make Quantasy’s work appear legitimate. Following

Quantasy’s presentation to Root management on marketing strategies, Silver sent Campbell a text

message stating, “I had to explain some things to leaders, but they finally kinda started to see the

light[.] That said, it doesn’t really matter, I have autonomy to do what I need to do.” (Id. ¶ 41.)

       D.      Silver and Campbell Sign a Second Scope of Work Agreement (SOW #2) and
               Continue to Funnel Funds from Root to Quantasy to Collateral Damage.

       At some point after April 1, 2022, Silver caused Root to enter into a second Scope of Work

agreement (“SOW #2”) with Quantasy. (Id. ¶ 57, Ex. 19.) In total, Quantasy received $14.7

million from Root pursuant to SOW #2. Of that amount, Quantasy transferred $9.1 million to

Collateral Damage. (Id. ¶ 85.)

       Again, throughout this period, Root management (other than Silver) was unaware of

Collateral Damage, or that Collateral Damage was Silver’s company, and had no knowledge that

Quantasy was paying Collateral Damage from the money Root paid to Quantasy.                    Root

management (other than Silver) received no documents or other materials from Collateral Damage

to substantiate the $9.1 million fee it received and Root received no value for the $9.1 million that

was paid by Quantasy to Collateral Damage. (Id.)

       E.      Defendants Take Steps to Hide Their Scheme from Root.

       Throughout SOW #1 and SOW #2, Defendants took measures to conceal their misdeeds.

For example, Silver recruited his sister, Paige McDaniel, to become sole owner or member of

Collateral Damage to hide his relationship with Collateral Damage. (Id. ¶¶ 63-65.)

       Silver and Campbell also worked to formalize Collateral Damage’s position as Root’s

subcontractor in April 2022, six months after the purported subcontracting agreement started. On

or about April 6, 2022, Campbell sent an email to Silver’s private email account, “hello@bc-

silver.com,” suggesting they create two agreements to solidify Collateral Damage’s involvement



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in the marketing services: (1) a subcontracting agreement between Quantasy and Collateral

Damage; and (2) an agreement between Root and Quantasy permitting Quantasy to hire

subcontractors for work performed on behalf of Root. (Id. ¶¶ 61, 63, Ex. 23.)

         On April 14, 2022, Silver instructed Campbell via private WhatsApp message that

Quantasy should “make sure invoices are less than $10M so they don’t need board approval.” (Id.

¶ 67, Ex. 28.) Silver also sent Campbell a text message on March 16, 2022, instructing Campbell

to only direct invoices to Silver—rather than other Root employees—presumably to prevent

anyone at Root from catching onto the scheme. (Id. ¶ 50, Ex. 15.)

         F.     Silver Uses Collateral Damage Funds Stolen from Root to Purchase Luxury
                Properties through Eclipse.

         Upon information and belief, Silver used the funds wired to Collateral Damage to make

various purchases. Between April 2022 and August 2022, Silver purchased at least three high-end

residential properties in Miami, Florida, and Venice, California, totaling in excess of $10 million.

In order to conceal his ownership of the properties, Silver purchased the properties using Eclipse,

which, upon information and belief, is a limited liability company owned and controlled by Silver.

(Id. ¶ 86.) The timing of Silver’s communications to Campbell demanding Quantasy pay

Collateral Damage lines up perfectly with the purchase date of one of the properties in Miami. (Id.

¶ 87.)

         G.     During Root’s Investigation, Defendants Fabricate Documents and Make
                Blatant Misrepresentations to Cover Their Fraud.

         In June and July 2022, Root’s Finance Department began investigating the high spending

in Root’s marketing department. (Id. ¶ 92.) With the exception of the February 24, 2022

presentation to Root management—which provided no actual marketing or advertising for Root

and for which Quantasy charged Root a staggering $1.2 million dollars—Quantasy had provided

little in the way of services to Root. (Id. ¶ 93.)


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       Aware of this heightened scrutiny, Silver and Campbell issued a series of change orders

stating that the money that Root had already paid Quantasy pursuant to SOW #2 constituted Root’s

“prepaid funds” that were available for future spend. (Id., Ex. 35.) Quantasy and Collateral

Damage also entered into an after-the-fact subcontractor agreement in August 2022, with an

effective date of February 2, 2022. (Id. ¶ 96, Ex. 36.) “Paige Lynette” appears as signatory for

Collateral Damage as “President,” and Campbell signed on behalf of Quantasy. (Id.)

       On August 22, 2022, Root’s internal audit team questioned Campbell directly about

Quantasy’s work for Root to determine whether there was justification for the millions of dollars

Root paid to Quantasy. Loyal to Silver and their scheme, Campbell never disclosed that the

majority of Root’s payments had been funneled to Collateral Damage. (Id. ¶ 97.)

       On August 22 and August 23, 2022, Silver sent Campbell WhatsApp messages containing

screenshots of Root’s confidential communications and internal audit findings, which did not

uncover Silver and Campbell’s carefully concealed fraud. Silver wrote, “we literally are good. I

just need for you to trust me and hold the line.” (Id. ¶ 99, Exs. 38, 39.)

       On September 22, 2022, another Quantasy employee lied to Root’s internal audit team

representing that $10.7 million of the $14.7 million original spend was “currently

unallocated/uncommitted at this time.” Specifically, David Rodriguez from Quantasy responded

to an email from a member of the Root team working on the internal audit that “[y]es, the $10.7M

can be used for paid media in 2023.” This was false as Quantasy had already paid $9.1 million of

the $10.7 million to Collateral Damage. (Id. ¶ 98, Ex. 37.)

       On September 29, 2022, Quantasy purported to “assign” the August 20, 2022 subcontractor

agreement between Quantasy and Collateral Damage to Root. The only Root signatory on the




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assignment was Silver. No other member of Root management had knowledge of the assignment.

(Id. ¶ 100, Ex. 40.)

       On November 9, 2022, Silver’s last day at Root, Silver purported to email Lanskie at

Collateral Damage, asking her to provide Silver with all the alleged agreements between Collateral

Damage and Root. (Id. ¶ 101, Ex. 41.) Upon information and belief, Silver used Lanskie’s former

Collateral Damage email address to make it appear as if she was still an employee. (Id. ¶ 40;

Lanskie Decl. ¶¶ 15-18.) Specifically, from Lanskie’s old Collateral Damage email address, Silver

sent three fabricated agreements to his Root email purportedly between Collateral Damage and

Root: (i) an SOW between Root and Collateral Damage; (ii) a subcontractor agreement between

Root and Collateral Damage; and (iii) a Client Media Authorization between Root and Collateral

Damage. Silver is the only Root signatory on any of the agreements. Upon information and belief,

Silver forged Lanskie’s signature at the bottom of each fabricated agreement as signatory for

Collateral Damage. (Am. Compl. ¶ 102, Lanskie Decl. ¶ 16.) The agreements were not in Root’s

possession before this November 9, 2022 email. (Am. Compl. ¶ 101.)

       H.      Root Uncovers Defendants’ Scheme.

       On November 16, 2022, following Silver’s departure from the company, Root executives

met with David Rodriguez at Quantasy to engage in further discussions about clawing back the

$10.7 million that Quantasy was purportedly holding for Root to spend on marketing initiatives in

2023. Campbell refused to attend the meeting. During the meeting Rodriguez admitted that what

he previously told Root (that $10.7 million of funds paid to Quantasy by Root was available to

Root) was false. Instead, Rodriguez disclosed to Root management, for the first time that: (1)

Collateral Damage existed; (2) payments had been made to Collateral Damage using Root’s funds;

and (3) Quantasy only had approximately $1.6 million that could potentially be returned from the




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$10.7 million outstanding because $9.1 million had been transferred by Quantasy to Collateral

Damage. (Id. ¶ 103.)

       Root’s investigation of Silver’s misdeeds is ongoing. Upon information and belief, Root

believes that other similar fraudulent schemes may exist between (at least) Silver and other vendors

that Silver hired during his tenure at Root. Root has recently been made aware of at least one other

vendor, called Ben-Her Marketing, that transferred $502,999.86 paid by Root at Silver’s direction

to Collateral Damage. Root is continuing to investigate these payments. (Id. ¶ 92.)

       I.      Several Defendants Are Currently Evading Service and Attempting to Sell
               Luxury Homes to Transfer and Conceal the Stolen Assets.

       There is little, if any, question that Silver and McDaniel are attempting to elude the Court

and this litigation. Indeed, McDaniel is now a fugitive. On Friday, February 3, 2023, a woman

answered the door and stated that Paige McDaniel was not home but confirmed that McDaniel

lived at that residence. (A true and accurate copy of the process server’s affidavit is attached hereto

as Exhibit 3.) In front of the process server, the woman called “Auntie Paige” on the phone. (Id.)

McDaniel said she would be back on Monday. (Id.) On Monday, February 6, 2023, the process

server returned to the house. (Id.) McDaniel answered the door but pretended to be someone else

and lied that McDaniel had left the country to check on her grandmother. (Id.) At the time, the

process server did not recognize McDaniel because she was not able to find a picture of McDaniel.

(Id.) Two days later, on February 8, 2023, after finding a picture of McDaniel and realizing she

spoke to McDaniel, the process server returned to the residence. (Id.) A man in the yard confirmed

that he and McDaniel lived there but again lied that McDaniel had left the country. (Id.) When

the process server said that McDaniel was not allowed to leave the country while on probation, he

represented that she actually had just left the state. (Id.) Because he confirmed that he and

McDaniel lived together in that residence, the process server served him. (Id.) McDaniel is a



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convicted felon on probation for mortgage fraud who obstructed service of process twice and is

not allowed to leave the federal district in which she is sentenced under the conditions of her

probation. (Id.)

          Meanwhile, a process server in California has attempted multiple times to serve Silver at

his various residences. (Alexander Decl.) Despite attempting to serve process four separate times

on different days and times during the day, and staking out Silver’s residence twice, Silver has

evaded process. The process server reports no one answers the door even though there were lights

on inside the house house, cars in the driveway, and a package outside the front door addressed to

Silver.

          Further, Silver is in the process of selling at least one of his luxury homes, likely in an

effort to conceal the assets obtained from the scheme to defraud Root. In January 2022, Silver and

Eclipse listed the waterfront property located at 13105 Biscayne Island Terrace, North Miami,

Florida 33181. Silver is likely to put his other properties up for sale soon to liquidate and transfer

any assets traceable to the scheme.

III.      STANDARD OF REVIEW

          The granting of injunctive relief is within the sound discretion of the court. Virginia

Railway Co. v. System Federation, R.E.D., 300 U.S. 515, 551 (1937). The standard for obtaining

a temporary restraining order and a preliminary injunction are the same. Planned Parenthood of

Greater Ohio, 188 F.Supp.3d 684, 688-89 (S.D. Ohio 2016) (citing Workman v. Bredesen, 486

F.3d 896 (6th Cir. 2007)). In determining whether to grant or deny a temporary restraining order,

the Court considers: “(1) whether the movant has a strong likelihood of success on the merits; (2)

whether the movant would suffer irreparable injury without the injunction; (3) whether issuance

of the injunction would cause substantial harm to others; and (4) whether the public interest would




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be served by issuance of the injunction.” Id. at 689, quoting City of Pontiac Retired Emps. Ass’n

v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014). The propriety of injunctive relief is determined

by balancing these factors, not by requiring demonstration of each. Six Clinics Holding Corp., II

v. Cafcomp Systems, Inc., 119 F.3d 393, 400 (6th Cir. 1994) (“The four considerations applicable

to preliminary injunction decisions are factors to be balanced, not prerequisites that must be

met.”). Moreover, there is no “rigid and comprehensive test for determining the appropriateness

of preliminary injunctive relief.” Tate v. Frey, 735 F.2d 986, 990 (6th Cir. 1984).

IV.      LAW AND ARGUMENT

         Root is entitled to a temporary restraining order and preliminary injunction enjoining

Defendants from dispersing, transferring, or using assets except as normal day-to-day transactions.

Each factor weighs in favor of granting injunctive relief.

         A.      Root’s Claims Are Likely to Succeed on the Merits.

         Root is likely to succeed on the merits of its RICO, conspiracy, fraudulent concealment,

fraudulent     misrepresentation,   conversion,   and    civil   action   for   criminal   theft   and

telecommunications fraud claims.2

                 1.     RICO (Count I) Against All Defendants

         Defendants engaged in a pattern of racketeering in violation of the Federal Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c). Section 1962(c) makes

it unlawful for “any person employed by or associated with any enterprise engaged in, or the

activities of which affect, interstate or foreign commerce, to conduct or participate, directly or



2
    In addition, Root asserts claims for breach of contract against Silver and Quantasy and breach of
    fiduciary duty against Silver. Root is also likely to succeed on the merits of these claims. For
    the sake of brevity, however, Root does not set forth the merits of each of these claims herein.
    In the event briefing on Root’s breach of contract and breach of fiduciary duty claims are
    necessary to award Root injunctive relief, Root will supplement this Motion.


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indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering activity or

collection of unlawful debt.” Here, all four required elements clearly exist: “‘(1) conduct (2) of

an enterprise (3) through a pattern (4) of racketeering activity.’” Moon v. Harrison Piping Supply,

465 F.3d 719, 723 (6th Cir. 2006) (internal quotation omitted)).

         First, the following conduct summarizes Defendants’ scheme: Silver, in his new position

as Root CMO, contracted with Campbell and Quantasy to provide marketing services for Root in

exchange for $13 million. (Am. Compl. ¶ 2.) Unbeknownst to Root management, Silver and

Campbell, with McDaniel’s help, secretly transferred $9.4 million of those payments to Collateral

Damage under the guise of subcontractor work. (Id.) Root never received marketing services

from Collateral Damage. (Id. at ¶ 85.) Instead, Defendants used the money for personal

expenditures including the purchase of luxury coastal properties in California and Florida. (See

id. ¶¶ 86-91.) Silver also used a second marketing vendor, Ben-Her, to funnel $502,999.86 of

Root’s money to Collateral Damages under the guise of subcontractor work. (Id. ¶ 105.)

         Second, Defendants constituted an association-in-fact enterprise because they collaborated

over the course of a year for the united purpose of wiring payments from Root to themselves under

false pretenses of providing marketing services.3 See Boyle v. United States, 556 U.S. 938, 946-

47 (2009) (finding an association-in-fact should be interpreted broadly and is shown where there

is: (1) “a purpose”; (2) “relationships among those associated with the enterprise”; and

(3) “longevity sufficient to permit those associates to pursue the enterprise’s purpose.”).

         Third, Defendants’ conduct of wiring money from Root to Quantasy and Ben-Her and then

from Quantasy and Ben-Her to Collateral Damage multiple times throughout 2022 constitutes a



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    In addition, Collateral Damage and Eclipse constitute an “enterprise” under 18 U.S.C. §
    1961(4).


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pattern of racketeering activity because it consisted of two or more acts within one year. Moon,

465 F.3d at 723 (citing 18 U.S.C. § 1961(5) (noting a “pattern of racketeering activity” means “at

least two predicate acts of racketeering activity occurring within a ten-year period.”).

       Fourth, each Defendant individually committed wire fraud, a racketeering activity, in

violation of 18 U.S.C. § 1343. Wire fraud involves: (1) a scheme based on an intent to defraud;

and (2) the use of mail or wires to further that scheme. United States v. Coffman, 574 Fed. Appx.

541, 549 (6th Cir. 2014). Innocuous or “innocent” mailings and wirings are sufficient RICO

predicates as long as they further a fraudulent scheme. Schmuck v. United States, 489 U.S. 705

(1989) (holding “innocent” mailings sufficient for purposes of mail fraud statute); Dana Corp. v.

Blue Cross & Blue Shield Mut. of No. Ohio, 900 F.2d 882, 886 (6th Cir. 1990) (finding defendant’s

mailed invoices and bills were sufficient evidence of mail fraud even though the mailings “were

required by the contract and would have been sent whether or not an alleged scheme existed”).

The following are examples of each Defendant committing wire fraud in furtherance of the scheme

to defraud Root:

              On or about November 22, 2021, Silver and Campbell concocted a plan via text
               messaging for Silver to retain Quantasy for Root’s marketing services in exchange
               for Quantasy passing along part of Root’s payments to Silver’s company, Collateral
               Damage.

              Between December 3, 2021 and February 7, 2022, Silver and Campbell, through
               WhatsApp, text messaging and personal email, drafted the SOW between Root and
               Quantasy.

              On February 7, 2022, Silver sent Campbell a private message, using the WhatsApp
               messaging application, containing Collateral Damage’s bank account number and
               routing numbers for Campbell and Quantasy to send the fraudulent funds.

              On February 9, 2022, at Silver’s direction, Root wired $473,778 to Quantasy and
               texted Campbell to inform him of the payment. This was the first payment in
               Defendants’ scheme to defraud Root of money without providing the promised
               marketing services.




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              On February 11, 2022, Silver sent Campbell an invoice for Collateral Damage via
               WhatsApp. This was the first invoice from Collateral Damages that Quantasy paid
               with Root’s payments, without Root’s knowledge or permission.

              On February 13, 2022, via WhatsApp, Silver and Campbell discussed how the
               payments would be divided between Collateral Damage and Quantasy in the
               scheme to defraud Root.

              The next day, on February 14, 2022, Quantasy wired $153,778 to the Collateral
               Damage pursuant to the secret payment schedule. This was the first payment
               Quantasy and Campbell made to Collateral Damage and Silver as part of the
               scheme to defraud Root.

              On March 16, 2022, Silver texted Campbell to only send Quantasy’s invoices to
               Root directly to him and not to anyone else at Root. Upon information and belief,
               this was to ensure no one else at Root would discover the scheme.

              On March 25, 2022, upon information and belief, Silver used Lanskie’s former
               Collateral Damage email address to email Campbell an invoice on behalf of
               Collateral Damage to Quantasy in an amount of $96,111.25 under the guise of
               subcontracting services performed for Root, despite no services rendered.

              Upon information and belief, McDaniel communicated with Silver via text
               messaging, email, WhatsApp, and/or other channels to file a certificate of
               organizing with the Georgia Secretary of State on April 11, 2022. This was an
               attempt to hide Collateral Damage’s affiliation with Silver from Root by attaching
               McDaniel’s name to the company instead of Silver’s.

              Upon information and belief, Eclipse, through Silver, communicated via text
               messaging, email, WhatsApp, and/or other channels with Silver via Lanskie’s
               former email address, McDaniel, and Collateral Damage to obtain the funds stolen
               from Root and purchase luxury properties with the funds.

The above list is a few of many instances Defendants committed wire fraud by communicating via

email, text messaging, phone, WhatsApp, and other forms of airwave or cable communication to

further their scheme to defraud Root of millions of dollars under the false pretenses of contracting

and subcontracting marketing services.

       Root will succeed on the merits of its RICO claim because, in addition to the above

elements, Defendants intended to cause Root to lose money. Furthermore, their scheme affected

interstate commerce because they wired money between Root in Ohio to Defendants located in



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California, Georgia, and Florida.4 As a result of Defendants’ racketeering activities, Root suffered

injuries in an amount greater than $9.9 million.

                 2.     Fraudulent Concealment (Count II) Against Silver, Campbell, and
                        Quantasy

         In Ohio, a plaintiff must prove six elements to prevail on a fraudulent concealment claim:

(1) a concealment of fact where there is a duty to disclose; (2) which is material to the transaction

at hand; (3) made falsely, with knowledge of its falsity, or with such utter disregard and

recklessness as to whether it is true or false that knowledge may be inferred; (4) with the intent of

misleading another into relying upon it; (5) justifiable reliance upon the concealment; and (6) a

resulting injury proximate caused by the reliance. Aetna Cas. & Sur. Co. v. Leahey Constr. Co.,

219 F.3d 519, 539 (6th Cir. 2000). All six elements are established here.

         First, Silver had a duty to Root, as its CMO, to disclose that he had made a private deal

with Quantasy and Campbell to funnel a substantial portion of Root’s marketing budget through

Quantasy to his own companies, Collateral Damage and Eclipse, for his own personal gain. (Am.

Compl. ¶ 119.) Silver also had a duty to disclose that Ben-Her, another marketing vendor, was

giving a portion of Root’s payments to Collateral Damage. (Id.) Campbell and Quantasy, as

parties to a business contract with Root, had a duty to disclose that they were paying Collateral

Damage over $9.4 million of Root’s $13 million payments under the guise of subcontracting work,

and that Silver had a personal conflict of interest in Quantasy’s deal with Collateral Damage. (Id.

¶ 120.) Second, these concealed facts were material to Root’s business transaction with Quantasy.

Third, Silver knew Root would falsely believe he had no personal conflicts related to his duties as

CMO. (Id. ¶ 121.) Fourth, Silver, Campbell and Quantasy knew that Root was unaware of these



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    The same facts establish that Root will succeed on its conspiracy claim against Silver, Campbell,
    Quantasy, Collateral Damage, and McDaniel.


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material facts and concealed them with the intent of misleading Root into entering the contract

with Quantasy and paying more than $13 million for marketing services. (Id.) Fifth, Root

justifiably relied on Silver, Campbell and Quantasy because it did not know of the Defendants’

scheme. (Id. ¶ 122.) And sixth, as a result of the concealment, Root suffered over $9.9 million in

damages. (Id. ¶ 123.)

               3.       Fraudulent Misrepresentation (Count III) Against Silver, Campbell,
                        and Quantasy

       A plaintiff seeking to prove fraudulent misrepresentation or inducement in Ohio must

show: (1) a representation made; (2) material to the transaction; (3) which is false, with knowledge

or with utter disregard and recklessness as its falsity; (4) with intent to mislead; (5) justifiably

relied upon; and (6) a resulting injury. Countrymark Coop. v. Smith, 124 Ohio App. 3d 159, 171-

72 (3rd Dist. 1997) (citing Burr v. Board of County Comm’rs. (1986), 23 Ohio St.3d 69, 491

N.E.2d 1101)). Again, each element is satisfied.

       First, Silver, Campbell, and Quantasy made numerous misrepresentations to Root. For

example:

              On February 24, 2022, Silver, Campbell and Quantasy advocated for Quantasy to
               perform marketing services for Root during a presentation to Root management.
               Silver, Campbell, and Quantasy represented to Root that it would provide
               professional marketing services with the intent to induce Root into continuing
               payments to Root for services never rendered.

              On September 22, 2022, Silver, Campbell, and Quantasy claimed that $10.7 million
               of the $14.7 million already paid Quantasy constituted “prepaid funds” that were
               available for future spend in 2023. In reality, at least $9.1 million of these funds
               were already transferred to Collateral Damage.

              On November 9, 2022, despite Lanskie ending her employment with Collateral
               Damage two years prior, Silver used Lanskie’s Collateral Damage email address to
               send Root three fabricated and backdated agreements purportedly between Root
               and Collateral Damage with the intention of covering up his and the other co-
               conspirators’ scheme and inducing Root to continue making payments to them.
               Silver forged Lanskie’s signature at the bottom of each agreement as signatory for
               Collateral Damage.


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              On November 22, 2022, Silver represented to Root’s general counsel that Quantasy
               had complete control over hiring subcontractors and that Quantasy had hired
               Collateral Damage to assist with sports marketing and gaming support.

Second, each of these representations were material because Root would have immediately

terminated its relationship with Silver, Quantasy, and Collateral Damage if it had known the truth.

(Am. Compl. ¶¶ 125-29.) Third, Defendants knew their statements were false. (Id. ¶ 130.) Fourth,

Defendants made these statements to cover up their scheme, mislead Root, and induce Root to

continue its business relationships with Quantasy. (Id. ¶ 131). Fifth, Root justifiably relied upon

Silver, Campbell, and Quantasy’s representations as they did “not appear unreasonable on [their]

face” and “under the circumstances, there [was] not apparent reason to doubt the veracity of the

represention[s].” Ownerland Realty, Inc. v. Zhang, 12th Dist. Warren Nos. CA2013-09-77 and

CA2013-10-97, 2014-Ohio-2585, ¶ 19 (citation omitted); (Id. ¶ 132). And sixth, as a result of

these misrepresentations, Root suffered damages in an amount greater than $9.4 million. (Id. ¶

133).

               4.      Conversion (Count IV) Against All Defendants

        Conversion is defined as “the wrongful exercise of dominion over property to the exclusion

of the rights of the owner, or withholding it from his possession under a claim inconsistent with

his rights.” Joyce v. Gen. Motors Corp., 49 Ohio St.3d 93, 96, 551 N.E.2d 172 (1990). The

elements of conversion are: “(1) the plaintiff’s ownership and right to possess the property at the

time of the conversion; (2) the defendant’s conversion by wrongful act of plaintiff’s property

rights; and (3) damages.” Martin v. MAHR Machine Rebuilding, Inc., 11th Dist. Lake No. 2015-

L-101, 2017-Ohio-1101, ¶ 13. Where a conversion claim is premised on the unlawful retention of

property, the plaintiff must also establish that he or she demanded that the defendant return the

property and that the defendant refused to do so. Sonis v. Rasner, 39 N.E.3d 871, 891 (Ohio Ct.

App. 2015).


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       Here, Defendants converted more than $9.4 million from Root. There can be no dispute

that Root owned and the right to possess its funds. (Am. Compl. ¶ 135.) Defendants converted

Root’s property by wrongfully transferring $15.9 million of Root’s funds from Root to Quantasy.

(Id. ¶ 138.) Quantasy originally retained $6.5 million and Defendants transferred more than $9.4

million from Quantasy to Collateral Damage, and, upon information and belief, from Collateral

Damage to Eclipse. (Id. ¶ 136.) Defendants ultimately used the funds to purchase multiple multi-

million dollar coastal properties. (Id.) When Root’s finance department became aware of the

excessive and unauthorized spend from its marketing department, Root demanded the return of

funds from Quantasy. (Id. ¶ 137.) While Quantasy returned a portion of the funds to Root,

Quantasy wrongfully retained $3.6 million of Root’s funds itself – the vast majority of which

Quantasy did not earn – and Defendants altogether refused to return the remaining $9.4 million.

For these reasons, Root is substantially likely to prevail on its conversion claim.

               5.      Civil Action for Criminal Theft and Telecommunications Fraud
                       (Counts (V and VI)

       A party injured by a criminal act may file a civil action to recover compensatory and

punitive or exemplary damages under Ohio Revised Code § 2307.60. Punitive and exemplary

damages are appropriate if the actions or omissions of the defendant demonstrated “malice or

aggravated or egregious fraud.” R.C. § 2315.21(C)(1). Here, Defendants committed at least two

crimes under Ohio law: (1) theft; and (2) telecommunications fraud.

                       a.      Theft Against All Defendants

       Ohio Revised Code § 2913.02(A) defines the crime of theft under Ohio law. Section

2913.02(A) provides in part:

       [n]o person, with purpose to deprive the owner of property or services, shall
       knowingly obtain or exert control over either the property or services in any of the
       following ways: (1) Without the consent of the owner or person authorized to give



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       consent; (2) Beyond the scope of the express or implied consent of the owner or
       person authorized to give consent; (3) By deception . . . .

R.C. § 2913.02(A).

       Here, Defendants have committed theft under Ohio law. (Am. Compl. ¶ 141.) In an

intentional effort to deprive Root of its funds, Defendants worked together to transfer funds to

Quantasy and Ben-Her without Root’s consent and by deception. (Id. ¶ 142.) Silver did not have

Root’s permission to transfer funds to Quantasy and Ben-Her under these circumstances, nor did

Quantasy or Ben-Her have permission to transfer Root’s funds to Collateral Damage and then to

Eclipse. (Id. ¶ 143.) Campbell, Quantasy, Collateral Damage, Eclipse, and McDaniel all exerted

control of Root’s funds without Root’s consent because they assisted with the unauthorized

transfers of Root’s funds and took steps to conceal the scheme from Root. (Id. ¶¶ 144-45.)

Therefore, Root is substantially likely to succeed on its civil claim for criminal theft against all

Defendants.

                       b.     Telecommunications Fraud Against Silver, Campbell, and
                              Collateral Damage

       Ohio Revised Code § 2913.05(A) defines the crime of telecommunications fraud under

Ohio law. Section 2913.05(A) provides in part:

       No person, having devised a scheme to defraud, shall knowingly disseminate,
       transmit, or cause to be disseminated or transmitted by means of a wire, radio,
       satellite, telecommunication, telecommunications device, telecommunications
       service, or voice over internet protocol service any writing, data, sign, signal,
       picture, sound, or image with purpose to execute or otherwise further the scheme
       to defraud.

R.C. § 2913.05(A).

       Here, Silver, Campbell, Quantasy, and Collateral Damage violated R.C. 2913.05. Silver

and Campbell communicated via text message, WhatsApp, and email—at times on behalf of

Collateral Damage and Quantasy—as part of their scheme to defraud Root. (Am. Compl. ¶ 149.)



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By way of example only, they used those platforms to communicate about: Root’s hiring Quantasy;

the SOW, including how to split up Root’s payments between Quantasy and Collateral Damage;

Silver’s alleged “autonomy” to hire Quantasy; the Collateral Damage invoices; the fraudulent

payments from Root to Quantasy; the fraudulent payments from Quantasy to Collateral Damage;

the creation of backdated and otherwise fraudulent documents to conceal the scheme. (Id. ¶ 150.)

For these reasons, Root is substantially likely to succeed on its civil claim for the crime of

telecommunications fraud against Defendants.

       B.      Root Has Been and Will Continue to Be Irreparably Harmed Absent an
               Injunction.

       Root is and will continue to be irreparably harmed absent an order enjoining Defendants

from transferring or disposing of their assets outside of normal day-to-day transactions. The Sixth

Circuit and this Court regularly find that “‘concealment and dissipation of assets’ likely obtained

through fraud constitutes irreparable harm.” Huntington Nat’l Bank v. Guishard, Wilburn &

Shorts, LLC, No. 2:12-CV-1035, 2012 U.S. Dist. LEXIS 167214 (S.D. Ohio Nov. 26, 2012)

(quoting NCR Corp. v. Feltz, 983 F.2d 1068 (6th Cir. 1993) (per curiam) (unpublished table case);

Williamson v. Recovery Ltd. P’ship, 731 F.3d 608, 628 (6th Cir. 2013) (granting injunction because

the case involved fraudulent conveyances and one of the defendants was a wanted fugitive); HBA

Motors, LLC v. Brigante, No. 1:21-cv-624, 2021 U.S. Dist. LEXIS 193641, at *12-13 (S.D. Ohio

Oct. 7, 2021) (granting an injunction on “the use, conversion, and disposition of Defendants’

assets” where the defendant tricked the plaintiff into wiring him money for fake cars online).

       Based on Defendants’ history of fraud and ability to conceal stolen funds, there is a strong

likelihood that they will attempt to conceal, encumber and/or dissipate assets to prevent Plaintiffs

from collecting at final judgment in this litigation. Defendants’ ability and willingness to do so is

evidenced most strongly by the following:



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              Silver and Campbell fabricated and forged numerous invoices, change orders,
               subcontractor agreements and other documents as part of their scheme to defraud
               Root. They also forged Lanskie’s signature, created fake email accounts and, upon
               information and belief, created shell companies to channel funds from Root to their
               personal accounts. There is a significant risk Silver and Campbell will use similar
               methods to disperse and conceal their assets related to this lawsuit.

              According to Lanskie, Silver never paid her or other employees at Collateral
               Damage. Even though she filed a claim with the California Department of
               Industrial Relations and was awarded her wages, she has not been able to collect.
               Silver continues to evade the agency’s judgment. (Lanskie Decl. ¶¶ 9, 14.)

              Upon information and belief, Collateral Damage and Eclipse are business fronts
               created by Silver to move money and purchase assets. Neither entity has legitimate
               business ventures.

              Silver recently placed his luxury homes bought with Root’s stolen funds on the
               market for sale. Upon information and belief, this may be an attempt to disperse or
               conceal the funds stolen from Root in response to Root’s internal investigation and
               this litigation.

              McDaniel is a convicted felon currently sentenced to three years of probation for a
               large-scale bank fraud scheme in Georgia. For her part in the scheme, McDaniel
               fabricated bank statements and employment verification forms to obtain significant
               mortgage loans. McDaniel was indicted in September 2020 and sentenced in
               August 2021. A few months later, in 2022, she began helping her brother, Silver,
               in his scheme to defraud Root. McDaniel’s demonstrated propensity to fabricate
               documents and engage in multiple fraudulent schemes while on probation makes it
               very likely she will engage in illegal activity to disperse the assets she obtained
               from Root absent an injunction. See McDaniel Sentencing Memorandum and
               Judgment Order (attached as Exhibit A).

       This case is on all fours with NCR Corp. v. Feltz, 1993 U.S. App. LEXIS 1402 (6th Cir.

1993). In NCR, the plaintiff brought RICO and fraud claims, alleging that the defendants

fraudulently induced the plaintiff to pay hundreds of thousands of dollars for market studies and

products the plaintiff never received. Id. at *6-7. The defendants attempted to cover up their

scheme through deceptive and complex transfers of assets, and began to dissipate assets. Id. This

Court enjoined the defendants from transferring or disposing of any of their assets, except as to

‘normal day-to-day’ transactions $500 or less.          Id.   The Sixth Circuit affirmed the

decision. Id. Plaintiffs now ask this Court for the same remedy.


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       Like NCR, here Defendants fraudulently induced Root to pay for marketing services that

were never rendered. Like NCR, Defendants attempted to disperse and hide Root’s payments

through complex transfers of assets. Silver channeled funds through Quantasy and Campbell, then

through Collateral Damage, McDaniel, and finally to Eclipse, which purchased luxury coastal

properties with the funds in an attempt to conceal them. The only contrast between this matter and

NCR is that the NCR defendants only stole hundreds of thousands of dollars while here Defendants

stole more than $9.4 million. Regardless, the irreparable harm to Root “from defendants’

concealment and dissipation of assets outweigh[s] defendants’ desire to continue unrestricted [ ]

transfers.”

       In sum, if Defendants’ funds and properties, which were procured through fraudulent

activity, are not frozen except for day-to-day transactions, Plaintiffs will likely suffer irreparable

harm in that they will not be able to recover for their injuries. See McGirr v. Rehme, 891 F.3d 603,

613 (6th Cir. 2018) (granting injunction because “there is a significant risk that [defendants’] assets

will be liquidated without recognition of Plaintiffs’ claims and before a decision as to their status

can be made” such that Plaintiffs will be left without any recourse); Concheck v. Barcroft, No.

2:10-cv-656, 2010 U.S. Dist. LEXIS 110325, 2010 WL 4117480, at *3, *2 (S.D. Ohio Oct. 18,

2010) (“Plaintiff is likely to suffer irreparable harm if [Defendants] are not required to submit

funds . . . they still retain to the safekeeping of the Court” where evidence “indicat[es] that

[Defendants] are willing to dispose of or conceal remaining funds” for personal expenditures rather

than return them” and the funds at issue are “likely contracted by fraud”).

       C.      The Issuance of an Injunction Will Cause No Harm to Others.

       Third, the Court’s issuance of an injunction will cause no harm to others. Root is seeking

to enjoin Defendants from disposing of their assets with the exception of normal day-to-day




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transactions.   The exception for day-to-day transactions will allow Defendants—such as

Quantasy—to continue to conduct its routine business operations with third parties. However, it

prevents potentially fraudulent transactions, such as moving funds or other property, in an effort

to further Defendants’ fraudulent scheme and prevent Root from obtaining meaningful relief.

        D.      The Issuance of an Injunction Would Serve the Public Interest.

        Finally, the issuance of the requested injunction serves the public interest. In cases

involving fraud, courts routinely hold that the public interest is served by an injunction freezing

the defendant’s assets to prevent the perpetuation of fraudulent acts. NCR, 1993 U.S. App. LEXIS

1402, at *6-7; Clayton v. Heartland Res., Inc., No. 1:08CV-94-M, 2009 U.S. Dist. LEXIS 20969,

at *20 (W.D. Ky. Jan. 8, 2009).

        For example, in NCR, the plaintiff brought a RICO claim against the defendants, alleging

 that the defendants defrauded plaintiffs of hundreds of thousands of dollars, engaged in deceptive

 and complex transfers of assets, and began to dissipate assets. 1993 U.S. App. LEXIS 1402, at

 *6-7. Therefore, the plaintiff sought a preliminary injunction, enjoining Defendants from

 transferring or disposing of any of their assets, except as to ‘normal day-to-day’ transactions. Id.

 The district court entered the injunction and the Sixth Circuit affirmed its decision. As the Sixth

 Circuit held, “the public interest would be served by issuing the injunction, as the injunction

 is necessary to prevent multi-state fraudulent schemes and to prevent the deprivation of

 remedies to [the plaintiffs].” Id. (emphasis added). Like in NCR, here, the public interest is

 served by issuing the injunction to prevent the perpetuation of Defendants’ fraudulent scheme.

 Further, given the likelihood that Defendants will try to dissipate their assets, the injunction

 prevents further deprivation of Root’s remedies.




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IV.       CONCLUSION

          For the foregoing reasons, Root requests the Court issue a temporary restraining order and

injunction that will immediately preclude Defendants from using, converting, encumbering,

transferring or disposing of any of their assets, except as normal day-to-day transactions, including

but not limited to restricting the sale of the following properties: 13105 Biscayne Island Terrace,

Miami, Florida 33181; 9125 North Bayshore Drive, Miami, Florida 33138; and 2543 Walnut

Avenue, Venice, California 90291, except by leave of Court or until this matter is resolved on the

merits.




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                                        Respectfully submitted,

                                        /s/ William D. Kloss, Jr.
                                        William D. Kloss, Jr. (0040854), Trial Attorney
                                        Elizabeth S. Alexander (0096401)
                                        Grace E. Saalman (0101603)
                                        VORYS, SATER, SEYMOUR AND PEASE LLP
                                        52 East Gay Street, P.O. Box 1008
                                        Columbus, Ohio 43216-1008
                                        Phone: (614) 464-6360 Fax: (614) 719-4807
                                        wdklossjr@vorys.com
                                        esalexander@vorys.com
                                        gesaalman@vorys.com


                                        Matthew L. Kutcher (IL Bar No. 6275320)
                                        (application for pro hac vice forthcoming)
                                        COOLEY LLP
                                        110 N. Wacker Drive Suite 4200
                                        Chicago, IL 60606
                                        Phone (312)-881-6500
                                        Fax (312)-881 6598
                                        mkutcher@cooley.com

                                        Kristine A. Forderer (CA Bar No. 278754)
                                        (application for pro hac vice forthcoming)
                                        COOLEY LLP
                                        3 Embarcadero Center
                                        San Francisco, CA 94111
                                        Phone (415) 693-2128
                                        kforderer@cooley.com

                                        Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was served on this 14th day

of February 2023, via email upon counsel for Quantasy & Associates, LLC and William Campbell,

via email and certified mail upon Brinson Caleb Silver, and via certified mail upon Paige

McDaniel, Collateral Damage, LLC, and Eclipse Home Design, LLC.



Collateral Damage, LLC                                      Matthew D. Ridings (0079402)
Registered Agent: LEGALZOOM.COM, Inc.                       THOMPSON HINE LLP
101 N Brand Blvd., 11th Floor                               127 Public Square, 3900 Key Center
Glendale, CA 91203                                          Cleveland, Ohio 44114
                                                            Telephone: 216.566.5561
Eclipse Home Design, LLC                                    Facsimile: 216.566.5800
Registered Agent: United States                             Matt.Ridings@ThompsonHine.com
Corporation Agents, Inc.
651 N. Broad St., Suite 201                                 and
Middletown, DE 19709
                                                            Jamar T. King (0091093)
Paige McDaniel                                              THOMPSON HINE LLP
5576 Alexanders Lake Rd.                                    10050 Innovation Drive, Suite 400
Stockbridge, GA 30281                                       Miamisburg, OH 45342
                                                            Telephone: 937.443.6852
Brinson Caleb Silver                                        Facsimile: 937.443.6635
1550 Michigan Avenue, Apt. 3                                Jamar.King@ThompsonHine.com
Miami Beach, FL 33139
brinsonsilver@gmail.com                                     Counsel for Quantasy & Associates,
hello@bc-silver.com                                         LLC and William Campbell




                                            /s/ William D. Kloss, Jr.
                                            William D. Kloss, Jr. (0040854)

                                            Counsel for Plaintiffs




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